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KAY SWEENEY,
Plaintiff,

vS. NO. 04-2561 P
RIVER WAFFLES, LLC,
MARKETPLACE INVESTMENTS , LLC ,
AND M.ARKETPLACE HOLDINGS ,

INC . ,

v\.r\-.¢\_¢\_¢\_d`d~_¢v\_#\_d

Defendants.

 

ORDER GR.ANTING DEFENDANTS' MOTION TO COMPEL RESPONSES
TO REQUEST FOR ADMISSIONS

 

I . INTRODUCTION

Before the court is defendants River Waffles, LLC and
Marketplace Investments, LLC's Motion to Compel Responses to
Request for Admissions, filed July 5, 2005 (dkt #49). In the
motion, defendants ask that the court order the plaintiff to
respond to six requests for admissions that relate to an incident
that occurred on May 16, 2005. Apparently, on that date
plaintiff's expert was present at defendants’ Sycamore View
restaurant when a man in a wheelchair entered the restaurant and
was served by restaurant employees. Generally, the requests ask

the plaintiff to admit that plaintiff’s expert was in fact present,

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that he saw the customer in the wheelchair enter the restaurant and
receive service without assistance. On July 29, 2005, the
plaintiff filed her response in opposition, stating that
defendants' own witnesses were present and can provide the same
information, and moreover, the plaintiff would have to pay her
expert $150 per hour to respond to these requests.
II. ANALYSIS

Admissions sought under Rule 36 are time-saving devices,

designed to narrow the particular issues for trial. Honeycutt v.

First Federal Bank, No. 02-2710, 2003 WL 1054235, at *l (W.D. Tenn.

 

2003) (unpublished) (citing Fed. R. Civ. P. 36, Adv. Comm. Notes).`
A request for admission “should be confined to facts that are not
in material dispute.” Honeycutt, 2003 WL 1054235, at *l (guoting
United States v. Watchmakers of Switzerland Info. Cent.. Inc., 25
F.R.D. 197, 201 (S.D.N.Y. 1959)).

Generally, the statements posed by the party seeking their
admission should be “capable of an answer by a yes or no.”
Honeycutt, 2003 WL 1054235, at *1 (guoting Johnstone v. Cronlund,
25 F.R.D. 42, 45 (D. Pa. 1960)). Statements that are vague, or
statements susceptible of more than one interpretation, defeat the
goals of Rule 36 and are properly objectionable. ld. at *l.

Any party objecting to requests for admission may file a
motion for a protective order. gee Rule 26(c), Fed. R. Civ. P. The

rule states that:

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Upon motion by a party or by the person from whom
discovery is sought . . . the court . . . may make any
order which justice requires to protect a party or
person from annoyance, embarrassment, oppression, or
undue burden or expense
Fed. R. Civ. P. 26(c) (emphasis added). In the case of RFAs, such
a motion may be proper when requests to admit are:
so voluminous and so framed that the answering party
finds the task of identifying what is in dispute and
what is not unduly burdensome.
Fed. R. Civ. P. 36, Adv. Comm. Notes (emphasis added). Rule 36
does not require the answering party to track down every fact and
detail under the sun. Rather, the party is required to make a
“reasonable inquiry”:
An answering party may not give lack of information or
knowledge as a reason for failure to admit or deny
unless the party states that the party has made
reasonable inquiry and that the information known or
readily obtainable by the party is insufficient to
enable the party to admit or deny.
Fed. R. Civ. P. 36(a} (emphasis added). When a litigant objects to
requests for admission or interrogatories propounded upon him by
opposing counsel and files a motion for a protective order, the
court has discretion to either deny or grant the motion. See Misco
v. U.S. Steel Corp., 784 F.2d 198, 206 (6th Cir. 1986) (“a district
court has broad discretion in regulating discovery”); United States
v. 266 Tonawanda Trail, 95 F.3d 422, 426 (6th Cir 1996).
The court finds that these six requests for admissions are

proper under Rule 36. Although it may be true that defendants’ own

witnesses are capable of providing the exact same information, if

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the plaintiff admits these requests, the issues for trial will be
narrowed. Moreover, while cost and expense is a factor the court
may consider in determining whether the burden of responding to the
requests outweigh the potential benefit, the court concludes that
the expert expenses in this case are not so excessive so as to
relieve the plaintiff from responding to otherwise proper requests
under the federal rules.
III. CONCLUSION
For these reasons, the motion is GRANTED. Plaintiff shall
respond to these six requests for admissions within eleven (ll)
days from the date of this order.
IT IS SO ORDERED.
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TU M. PHAM
United States Magistrate Judge

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Date U

 

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This notice confirms a copy of the document docketed as number 58 in
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Honorable Tu Pham
US DISTRICT COURT

